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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

    In RE PAYMENT CARD INTERCHANGE FEE             MDL No. 1720 (MKB) (JO)
    AND MERCHANT DISCOUNT ANTITRUST                1:05-md-01720 (MKB) (JO)
    LITIGATION.                                    Civil No. 05—5075 (MKB) (JO)


                                   NOTICE OF APPEAL

          Notice is hereby given that Falls Auto Gallery LLC dba Falls Car Collection, who

    is a Rule 23(b)(3) Class Member and Objector, in the above named case, hereby appeal

    to the United States Court of Appeals for the Second Circuit from the FINAL

    APPROVAL ORDER [Order and Final Judgment approving the Superseding Settlement

    Agreement] (ECF Document 7818), entered on December 13, 2019; the

    MEMORANDUM & ORDER [approving the Superseding Settlement Agreement] (ECF

    Document 7821) entered on December 16, 2019; the MEMORANDUM & ORDER

    [granting attorney fees and expenses] (ECF Document 7822), entered on December 16,

    2019; the ORDER [granting expenses and service awards to Rule 23(b)(3) Class

    Plaintiffs] (ECF Document 7823) entered on December 16, 2019; and, the JUDGMENT

    (ECF Document 7832) entered on December 20, 2019.


          Dated: January 8, 2020           Respectfully submitted,

                                            /s/ Sam P. Cannata
                                            Sam P. Cannata
                                            Ohio Bar Number 0078621
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                                            Counsel for Class Member/Objector
                                            Falls Auto Gallery LLC (dba Falls Car Collection)
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                                    CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that on this 8th day of January 2020 the attached Notice of Appeal

    was filed electronically with the Clerk of the Court using the CM/ECF system for filing. I

    further certify that copies of the above-referenced document were served on all parties who have

    filed a notice of appearance using the CM/ECF system.

                                                Respectfully submitted,

                                                /s/ Sam P. Cannata
                                                Sam P. Cannata

                                                Counsel for Class Member/Objector
                                                Falls Auto Gallery LLC (dba Falls Car Collection)




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